                    UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION
                          NO. 5:18-CR-452-1-FL


UNITED STATES OF AMERICA,             )
                                      )
                 v.                   )
                                      )
                                      )
LEONID ISAAKOVICH TEYF,               )


                      Order to Seal D.E. 505, Nunc Pro Tunc

      Upon motion of the United States, it is hereby ORDERED, for good cause shown

based on the facts and reasons stated in the motion, that the Response of the

Government filed at D.E. 505 in the above-captioned matter be sealed.

                                   12thday of March, 2020.
                         This, the ____



                                      _________________________________
                                      LOUISE W. FLANAGAN
                                      United States District Judge




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